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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
United States                                                           CASE NUMBER:

                                                                                                    19-cr-00343-GW
                                                    PLAINTIFF(S),
                                  v.
Travis Schlotterbeck
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                        Travis Schotterbeck                           hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 ✘ Conviction only [F.R.Cr.P. 32(j)(1)(A)]
 G                                                                      G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on          November 17, 2022          . Entered on the docket in this action on November 17, 2022                          .

A copy of said judgment or order is attached hereto.


November 23, 2022                                       /s/ Edward M. Robinson
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
